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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                                                                                          May 26, 2020
                           UNITED STATES DISTRICT COURT
                                                                                       David J. Bradley, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

JOHN HANCOCK LIFE INSURANCE                      §
CO.,                                             §
                                                 §
         Plaintiff,                              §
VS.                                              §   CIVIL ACTION NO. 4:18-CV-2869
                                                 §
THE ESTATE OF JENNIFER LAUREN                    §
WHEATLEY, et al.,                                §
                                                 §
         Defendants.

                                            ORDER

       This case began as an interpleader action filed by John Hancock Life Insurance Co. (“John

Hancock”) to resolve which of two claimed beneficiaries was entitled to an annuity that it manages.

In a Memorandum and Order issued on November 13, 2019 (the “Order”), the Court determined

that the Estate of Jennifer Lauren Wheatley (the “Wheatley Estate” or the “Estate”) was the proper

beneficiary, rather than the deceased’s ex-husband, Jeremy G. Ward. (Doc. No. 102). In the Order,

the Court also reinstated the Wheatley Estate’s counterclaims against John Hancock for negligence

and breach of contract, and permitted the Estate’s fourth amended counterclaim for violations of

the Texas Insurance Code. This case proceeds under these three counterclaims.

       Pending before the Court are several motions: (1) the Estate’s Motion for Leave to Amend

to add a fifth counterclaim (Doc. No. 106), (2) the Estate’s Motion for Choice of Law (Doc. No.

115), (3) John Hancock’s Motion for Protective Order (Doc. No. 119), and (4) the Estate’s Motion

to Modify Scheduling Order (Doc. No. 122). The latter three motions are all related to the Estate’s

Motion for Leave to Amend to add a fifth counterclaim based on alleged violations of




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Massachusetts state law for “unfair claim settlement practices” or, in the alternative, Texas

Insurance Code §§ 542.058, 542.06, and 541.051. (Doc. No. 106).

       Under FRCP 16(b)(4), a party seeking to amend its pleadings after the deadline has passed

must demonstrate good cause for needing the extension. EEOC v. Service Temps Inc., 679 F.3d

323, 333–34 (5th Cir. 2012). Four factors are relevant to determining good cause: “(1) the

explanation for the failure to timely move for leave to amend; (2) the importance of the

amendment; (3) potential prejudice in allowing the amendment; and (4) the availability of a

continuance to cure such prejudice.” Id. at 334.

       In this case, the Wheatley Estate has not demonstrated good cause for amending its

pleadings to add the proposed fifth counterclaim far after the deadline for amendment and after

this Court issued its Order. The Wheatley estate has not adequately explained its delay in seeking

to include its fifth counterclaim in light of the prior development of this case. On February 13,

2019, the Wheatley Estate sought to amend its answer to add a fourth counterclaim for violations

of the Texas insurance code. (Doc. No. 102). The deadline for amending the pleadings expired on

March 1, 2019. While the Court dismissed the Wheatley Estate’s counterclaims and abated John

Hancock’s involvement in this case pending resolution of the interpleader action, on November

13, 2019, the Court issued its Order holding that the Wheatley Estate was the rightful beneficiary,

reinstituting the Estate’s counterclaims, and permitting the Estate’s fourth counterclaim. The

Estate did not seek leave to add its fifth counterclaim until January 10, 2020, long after it sought

to add its fourth counterclaim and this Court issued its Order reviving many of the Estate’s

counterclaims. While the Wheatley Estate claims that it received additional discovery in April and

early August 2019 related to the proposed counterclaim, it is unclear the extent to which the

discovery provided new information and, in any event, the Estate still delayed several months


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before seeking another leave to amend. Moreover, the Court is persuaded that the prejudice to John

Hancock would be steep because it would require, as the Estate has already requested, additional

discovery long after the discovery deadline closed on August 1, 2019.

       Because the Wheatley Estate has not demonstrated good cause for its failure to timely move

for leave to amend and the prejudice against John Hancock would be steep, the Court DENIES

the Wheatley Estate’s Motion for Leave to Amend (Doc. No. 106) and Motion to Modify

Scheduling Order (Doc. No. 122). The Court also DENIES AS MOOT the Motion for Choice of

Law (Doc. No. 115) and Motion for Protective Order (Doc. No. 119).

       IT IS SO ORDERED.

       SIGNED at Houston, Texas, on this the 24th of May, 2020.




                                                    HON. KEITH P. ELLISON
                                                    UNITED STATES DISTRICT JUDGE




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